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                        UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                     Case No. 1:04-cr-5268 OWW

                  Plaintiff,                  STANDING ORDER RE
                                              CRIMINAL CASES
v.

                                              TRIAL DATE: August 9, 2005
MARIA ADELA MEDINA QUINONEZ, et al.,          TIME: 9:00 AM
                                              COURTROOM: Two
                  Defendants.
____________________________/


            I.    SUGGESTED VOIR DIRE EXAMINATION and WITNESS LISTS

                  A.     All counsel will electronically file all

suggested voir dire examination questions no later than 4:00 p.m., on

the Thursday preceding the commencement of trial.

                  B.     All counsel will electronically file the list

of all potential witnesses, including those which counsel may

reasonably be expected to call as rebuttal witnesses, by 12:00 p.m. on

the day prior to the commencement of the trial.         (This list will be

referred to in voir dire.)

            II.   PROPOSED INSTRUCTIONS

                  A.     Each counsel shall, no later than Thursday at

4:00 p.m. preceding the trial of the action, electronically file their

proposed jury instructions, as follows:

                         1.    The instructions shall identify the

proponent at the top:

                               a.   "Government's Proposed Instruction

No. 1, et seq.," or
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                               b.   "Defendant Smith's Proposed

Instruction No. 1, et seq."     Each instruction shall bear a brief title

describing the topic of the instruction and shall contain a citation

of the supporting authority and a legend at the lower left margin:

Given; Given As Modified; Refused; Withdrawn.

            B. Counsel shall also e-mail a copy of their proposed

instructions in WordPerfect or Word format to glucas@caed.uscours.gov.



                    N.B.:   The Court will not accept a list of numbers

of instructions from Blackmar and Devitt or Caljic not actually

including reproduced instructions.

            III. INSTRUCTION CONFERENCE

                    Counsel are ordered to meet and confer prior to the

instruction conference and be prepared to indicate to the Court, in

writing, which jury instructions they agree upon and any instruction

to which counsel has objection, in whole or in part.          Objections

should be typed, but in exceptional circumstances the Court will

receive the same in legible handwritten form.        In addition to

identifying the objectionable instruction, counsel shall state in

concise terms the basis for their objection.        These written objections

will be reviewed by the Court before the Instruction Conference which

will be held before the jury is instructed by the Court.

            N.B.:    The Court instructs before oral argument.

            IV.     ADDITIONAL INSTRUCTIONS


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                     The Court will consider instructions filed after the

date specified in Paragraph I, supra, only if they pertain to issues

which arose during the trial and could not be reasonably foreseen in

advance of trial.

                V.   UNUSUAL EVIDENTIARY PROBLEMS

                     Counsel are directed to identify any unusual

problems relating to the admissibility of evidence (as opposed to

suppression of evidence)1 which may arise at the trial of the action.

If counsel has reason to believe that such problems are present,

counsel who propose to introduce such evidence are ordered to:

                     A.    File a written offer of proof, together with a

memorandum of supporting authority, no later than six (6) days prior

to trial.

                     B.    Should opposing counsel have objection to the

introduction of such evidence, a memorandum of points and authorities

in opposition to such evidence shall be filed no later than three (3)

days prior to trial.

                     C.    During trial, it shall be the duty of counsel

to notify the Court of evidentiary problems by 4:30 p.m. of the day

preceding the trial day on which the problem is expected to arise.

Such matters shall be taken up at 8:30 a.m. on the trial day following

such notification.


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             All evidence, including defendants' statements, sought to
     be suppressed must be addressed by pre-trial motion pursuant to
     the provisions of Federal Rule of Criminal Procedure 12.

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                   D.      Counsel shall notify the court by 4:30 p.m. the

day before any witness will be called who is expected to invoke the

Fifth Amendment privilege against self-incrimination.

                   N.B.:    This includes voir dire or other examination

of witnesses to be conducted outside the presence of the jury.

             VI.   EXHIBITS

                   All exhibits will be premarked and an original and

two copies of the exhibit list will be submitted to the Courtroom

Deputy no later than 4:00 p.m. on the day prior to the first day of

trial.   Joint exhibits shall be marked in sequence with Roman

numerals; Government exhibits shall be marked with Arabic numerals,

defense exhibits shall be marked with letters, i.e., A; AA, etc.

In voluminous exhibit cases the courtroom deputy will preassign blocs

of exhibit numbers.

             VII. COURTROOM DECORUM

                   Please familiarize yourself with Exhibit "A"

attached regarding courtroom procedures and decorum.

             SO ORDERED.



                                                  OLIVER W. WANGER
                                            UNITED STATES DISTRICT JUDGE




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                                   EXHIBIT "A"

                                COURTROOM DECORUM


               The purpose of these guidelines is to state, for the

guidance of counsel, certain basic principles concerning courtroom

decorum.    The requirements stated are minimal, not all-inclusive, and

are intended to emphasize the supplement, not supplant or limit, the

ethical obligations of counsel under the Code of Professional

Responsibility or the time honored customs of experienced trial

counsel.

               When appearing in this Court, all counsel (including

where the context applies, all persons at counsel table) shall abide

by the following:

               1.   Stand at the lectern while examining any witness;

except that counsel may approach the Clerk's desk or the witness for

the purposes of handling or tendering exhibits.

               2.   Stand at or in the vicinity of the lectern while

making opening statements or closing arguments, except to refer to

exhibits.

               3.   Address all remarks to the Court, not to opposing

counsel.

               4.   Avoid disparaging personal remarks or acrimony toward

opposing counsel and remain detached from any ill-feeling between the

litigants or witnesses.

               5.   Do not address jurors by name nor approach the jury

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box.

               6.    Refer to all persons, including witnesses, other

counsel and the parties by their surnames and not by their first or

given names.

               7.    Only one attorney for each party shall examine, or

cross-examine each witness.       The attorney stating objections, during

direct examination, shall be the attorney recognized for cross-

examination.

               8.    Only one attorney for each party shall present oral

argument on motions, opening statements, or closing arguments,

although separate motions, the opening statement, or closing argument

may be divided among counsel if a party has more than one trial

counsel.

               9.    Counsel should request permission before approaching

the bench or a witness.      Any documents counsel wish to have the Court

examine should be handed to the Clerk.

               10.    Any paper exhibit not previously marked for

identification should first be handed to the Clerk to be marked before

it is tendered to a witness for examination; and any exhibit offered

in evidence should, at the time of such offer, be handed to opposing

counsel.

               11.    Exhibits should be moved into evidence after the

foundation is laid.      Do not wait until the close of your case to move

the admission of exhibits.


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            12.   No speaking objections.       In making objections,

counsel should state only the legal grounds for the objection and

should withhold all further comment or argument unless elaboration is

requested by the Court.

            13.   In examining a witness, counsel shall not repeat or

echo the answer given by the witness.

            14.   Offers of, or requests for, a stipulation should be

made to opposing counsel, not within the hearing of the jury.

            15.   In opening statements and in arguments to the jury,

counsel shall not express personal knowledge or personal opinion

concerning any matter in issue.

            16.   Counsel shall admonish all persons at counsel table

and parties present in the courtroom that gestures, facial

expressions, laughing, snickering, audible comments, or other

manifestations of approval, disapproval or disrespect during the

testimony of witnesses are prohibited.




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